Case 2:05-cV-02095-.]DB-STA Document 20 Filed 07/11/05 Page 1 of 6 Page|D 34

IN THE UNITED STATES DISTRICT COURT F"`ED BV, ‘U')€£/“ U'c:
FOR THE WESTERN DISTR]CT OF TENNESSEE
WESTERN DIVISION 05 JUL l l PH h' 09
l Q t
WILLIAM RAY INGRAM, ) Ci£RW:;A`{~,i§WG€%H-r
) W{F.) OF l'*§y F»EMPH§S
Plaintiff, )
)
v. ) NO. 05-2095 B/An
)
CITICORP CREDIT SERVICES, INC. )
(USA) d/b/a GOODYEAR CREDIT )
PLAN and BRYANT TIRE & )
APPLIANCE CENTER, INC. d/b/a )
GOODYEAR, )
)
Defendaots. )

 

REPORT AND RECOMMENDATION

 

Before the Court is Defendant Citibank USA, National Association’S (“Citibank”)
Motion to Stay Proceedings in Favor of Arbitration filed on June 2, 2005. United States District
Judge J . Daniel Breen referred this matter to the Magistrate Judge for a determination and/or
report and recommendation For the reasons set forth below, the Court recommends the Motion
be GRANTED.

BACKGRO UND

 

Plaintiff brought this action against Defendants in the Cirouit Court for Shelby County,
Tennessee alleging violations of the Tennessee Consumer Protection Act, the F air Debt
Colleotion Practices Act, the Fair Credit Reporting Act, and for state law claims of
misrepresentation, fraud, and intentional infliction of emotional distress Defendants timely

removed this action to the Court. Plaintiff opened a credit card account With Citibank in January

This document entered on the docket sheet irijc:om§iance
With Ru|e 58 and!or 79{a} FHCP on ’

Case 2:05-cV-O2095-.]DB-STA Document 20 Filed 07/11/05 Page 2 of 6 Page|D 35

2004, and in opening that account, Plaintiff agreed to be governed by a written cardmember
agreement (the “Agreement”). The Agreement contains an arbitration provision which reads, in
pertinent part, that.'

ARBITRATION:

PLEASE READ THIS PROVISION OF THE AGREEMENT
CAREFULLY. IT PROVIDES THAT ANY DISPUTE MAY BE
RESOLVED BY BINDING ARBITRATION. ARBITRATION REPLACES
THE RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A JURY
AND THE RIGHT TO PARTICIPATE IN A CLASS ACTION OR
SIMILAR PROCEEDING. IN ARBITRATION, A DISPUTE IS
RESOLVED BY AN ARBITRATOR INSTEAD OF` A JUDGE OR JURY.
ARBITRATION PROCEDURES ARE SIMPLER AND MORE LIMITED
THAN COURT PROCEEDINGS.

Agreement to Arbitrate:

Either you or we may, without the other’s consent, elect mandatory, binding

arbitration for any claim, dispute, or controversy between you and us (cal]ed

“Clairns”).

(`Mem. in Supp, ofMot. to Stay, at 3).

Citibank filed the instant Motion to Stay requesting that the Court stay all proceedings in
this matter in favor of arbitration, pursuant to the contract between Plaintiff and Citibank.
Plaintift` did not file a response to the instant Motion, even though Plaintiff"s counsel advised
Citibanl<;’s counsel that “he would not be able to consent to the Motion and the relief sought
therein.” (Certificate of Consultation attached to Mot. to Stay, at l).

ANALYSIS

Citibank has asked the Court to stay these proceedings in favor of arbitration; therefore,

the Court should “engage in a limited review to determine whether the dispute is arbitrable . . . .”

Brarr Enrerprises, Inc. v. Noble latern. Ltd., 338 F.3d 609, 612 (6th Cir. 2003). The Court

should first determine whether a valid agreement to arbitrate exists. Prima Paint Corp. v. Flooa'

Case 2:05-cV-02095-.]DB-STA Document 20 Filed 07/11/05 Page 3 of 6 Page|D 36

& Conklr'n Mfg. Co., 388 U.S. 395, 403-04 (1967). After determining a valid agreement exists,
the Court should next determine if the dispute falls within the scope of the agreement Javz`rch v.
Fr'rsr Um'on Sec., Inc., 315 F.3d 619, 624 (6th Cir. 2003).

Pursuant to the Federal Arbitration Act (“FAA”), federal law applies to a written
provision in a contract “evidencing a transaction involving commerce to settle by arbitration a
controversy thereafter arising out of such contract.” 9 U.S.C. § 2 (2004). Thus, the FAA
governs any agreement to arbitrate contained in a contract relating to interstate commerce The
term interstate commerce means “commerce among the several states or With foreign nations.” 9
U.S.C. § 1 (2004). This dispute involves credit card transactions and billing practices, which
clearly implicate interstate commerce; therefore, the FAA governs the Agreement.

lf a party fails to arbitrate, as required in a valid arbitration provision, the other party is
entitled to “petition any United States district court . . . for an order directing that such arbitration
proceed.” 9 U.S.C. § 4 (2004), Courts should “n`gorously enforce agreements to arbitrate.”
Dear.r. Wi`trer Reynolds, Inc. v. Byrd, 470 U.S. 213, 221 (1985); see also Javr'rch v. Fz`rsr Um`on
Sec., Inc., 315 F.3d 619, 624 (6th Cir. 2003). Moreover, courts have generally found that
arbitration provisions in credit card agreements are binding and enforceable See, e.g., fn re
Forez`gn Currency Conversion Fee Anri'trusr Lz`tz'g., 265 F. Supp. 2d 385, 401 (S.D.N.Y. 2003);
Bank One, N.A. v. Coares, 125 F. Supp. 2d 819, 831 (S.D. Miss. 2001). Citibank has gone so far
as to cite for the Court other reported cases Where federal courts have upheld the exact arbitration
provision at issue in this case. See, e.g., Taylor v. Citi`bank USA, N.A., 292 F. Supp. 2d 1333,

1346 (M.D. Ala. 2003).

Case 2:05-cV-02095-.]DB-STA Document 20 Filed 07/11/05 Page 4 of 6 Page|D 37

As mentioned above, Plaintiff did not file a response to the instant Motion. “F ailure to
timely respond to any motion, other than one requesting dismissal of a claim or action, may be
deemed good grounds for granting the motioni” Local Rule 7.2(a)(2). Therefore, by not
responding, the Court can only assume that Plaintiff received the Agreement and that Plaintiff
does not dispute the terms of the Agreement or the arbitration provision located within the
Agreement. Additionally, the arbitration provision is conspicuously contained within the
Agreement, and it explains in detail what is involved in the arbitration process As such, because
the arbitration provision appears valid on its face and because Plaintiff has presented no reason
why the Court should rule the arbitration provision inapplicable, the Court concludes that the
arbitration provision should be held applicable in the instant case.

Because the arbitration provision is valid, the Court must determine if the dispute falls
within the scope of the Agreement. “Where the arbitration clause is broad, only an express
provision excluding a specific dispute, or ‘the most forceful evidence of a purpose to exclude the
claim from arbitration,’ will remove the dispute from consideration by the arbitrators.”
Hi`ghlands Wellmonr Healrh Networks, Inc. v. John Deere Health Plan, Inc., 350 F.rd 568, 577
(6th Cir. 2003) (quotingAT&T Tech. v. Communications Workers ofAm., 475 U.S. 643, 650
(1986)). ln this case, the arbitration provision is broad. Plaintiff’s factual allegations are related
to Citibank’s practices of billing his credit card account and related to Citibank’s practice of
reporting Plaintiff"s credit with respect to the account, Therefore, the Court concludes that the

factual claims of Plaintiff are clearly within the scope of the arbitration agreement

Case 2:05-cV-02095-.]DB-STA Document 20 Filed 07/11/05 Page 5 of 6 Page|D 38

ML_US_M

Plainti ff did not respond to the instant motion. Moreover, because the Court has
concluded the Plaintiff entered into a valid arbitration agreement with Citibanl< and because
the Court has concluded that Plaintiff’s claims are Within the scope of the arbitration agreement,
the Court recommends that Citibank’s Motion be GRANTED. The instant proceedings should
be stayed in favor of arbitration.

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

§.Wm< add

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: blon Od>,. 2005/

rsEstrRrCr oURr -wEerRNDrsrRrCr FrNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CV-02095 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Kenneth M. Bryant
l\/[[LLER & MARTIN LLP
150 4th Ave., N.

Ste. 1200

Nashville, TN 37219--243

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Gary C. MoCullough
MCCULLOUGH & MCCULLOUGH
9050 Corporate Gardens Dr.
Germantown7 TN 3 8138

Honorable .1. Breen
US DISTRICT COURT

